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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

Anthony D. Jackson and Superior                           §
Consulting Group                                          §
                                                          §
         Plaintiffs,                                      §
                                                          §
v.                                                        §
                                                          §                  Case 4:23-cv-03165
Planet Home Lending and AmCap                             §
Mortgage Ltd.                                             §
                                                          §
         Defendants.                                      §

                      DEFENDANT PLANET HOME LENDING, LLC'S
                   REPLY SUPPORTING RULE 12(C) DISMISSAL MOTION

         Plaintiffs Anthony D. Jackson and Superior Consulting Group’s (Superior) response

merely asserts conclusory statements their claims are well-pled. They do not cite any authority or

otherwise attempt to address defendant Planet Home Lending’s (PHL) legal arguments. Their

response confirms this case was nothing more than a foreclosure delay tactic.

                                 I.    ARGUMENT & AUTHORITIES

A.       Plaintiffs waived or abandoned their claims.

         Plaintiffs plead a RESPA claim and entitlement to an accounting but did not address them

in their response. (See doc. 1-14 at 7; doc. 5 at 8-10; doc. 11.) Likewise, they did not directly

respond to any of PHL’s legal arguments or defenses. (See doc. 5; doc. 11.) Without citing any

authority, plaintiffs merely state their claims are “well-pled and supported by evidence”; they have

standing to bring them; and their claims survive PHL’s dismissal motion. (See doc. 11 at 3.)

Plaintiffs’ failure to pursue their claims renders them waived or abandoned. See Black v. N. Panola

Sch. Dist., 461 F.3d 585, 588 n.1 (5th Cir. 2006) (plaintiff abandoned claim when she failed to

defend her allegations in response to defendant’s dismissal motion); Draper v. Deutsche Bank

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Nat’l Tr. Co. as Tr. For Saxon Asset Sec. Tr. 2007-3, Mortg. Loan Asset Backed Certificates,

Series 2007-3, No. 3:18-CV-02904-L, 2019 U.S. Dist. LEXIS 246885, at *7 (N.D. Texas. Sept.

30, 2019) (same).

         B.       Plaintiffs cannot raise new claims in a dismissal motion response.

         Plaintiffs claim their “constitutional allegations are well-pled”, their “MERS related

allegations would render the assignment void an initio”, and their “quiet title … claim[]

survive[s].” (Doc. 11 at 3.) Plaintiffs do not raise any constitutional or quiet title claims in their

complaint. (See generally doc. 1-14.) Nor do they use the word “MERS” or challenge the chain

of title to PHL. (Id.) “[I]t is wholly inappropriate to use a response to a motion to dismiss to

essentially raise a new claim for the first time.” Diamond Beach Owners Ass’n v. Stuart Dean

Co., No. 3:18-CV-00173, 2018 U.S. Dist. LEXIS 219528, at *4 (S.D. Tex. Dec. 21, 2018).

         C.       Plaintiffs’ presumed challenges to the September foreclosure sale fail.

         Plaintiffs allege that after defendant’s removal on August 28, 2023, they were “made aware

of a fraudulent foreclosure sale”. (Doc. 11 at 3.) Plaintiffs presumably refer to the September 5,

2023 foreclosure sale. In conclusory fashion, plaintiffs allege the sale was not “noticed in two

places in Harris County and was not conducted in the proper place.” (Id.) Plaintiffs do not identify

the two places in which the notice should have been posted. Their allegations regarding the

location of the sale are equally vague—in one sentence alleging the sale “was not conducted in the

proper place” and in the very next sentence alleging “the sale never even occurred”. (Id.)

Regardless, PHL’s dismissal motion and supporting evidence disproves their claims.

         The property code requires notice of sale be given at least 21 days before the sale by: (1)

posting notice at the courthouse door in the county in which the property is located, (2) filing notice

with the county clerk of each county in which the property is located, and (3) serving notice by


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certified mail on each debtor obligated to pay the debt. TEX. PROP. CODE § 51.002(b)(1)-(3). The

substitute trustee’s deed provides notice was posted “at the courthouse door of Harris County,

Texas, least-twenty-one (21) days preceding the date of the sale”, (doc. 5-1 at 46); the notice was

filed with the Harris County Clerk on July 7, 2023—60 days before the sale, (doc. 5-1 at 54); and

notice was mailed to Mr. Jackson, the only debtor obligated to pay the loan, via certified mail,

return receipt on July 18, 2023—49 days before the sale (doc. 5-1 at 65-71). Harris county was

also the appropriate location for the sale because the property is located there. (See doc. 5-1 at 8

(legal description provides the property is in Harris County).) See TEX. PROP. CODE § 51.002 (“the

sale must take place at the county courthouse in the county in which the land is located”).

                                           II.     CONCLUSION

         Plaintiffs assert baseless claims to delay and/or void foreclosure. This court should dismiss

all their claims with prejudice and grant PHL all further relief to which it is justly entitled.

Date: December 1, 2023                                          Respectfully submitted,

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                                       CERTIFICATE OF SERVICE


         A true and correct copy of this document was served on December 1, 2023 as follows:

VIA ECF
Rhonda Ross
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                                                                  /s/ C. Charles Townsend
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